Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 1 of 18 PageID# 6357




                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                  NEWPORT NEWS DIVISION



   ROYCE SOLOMON, et al., individually and
   on behalf of all others similarly situated,

                 Plaintiffs,
                                                 Civil Action No. 4:17-cv-0145 HCM-RJK
   v.
                                                 CLASS ACTION
   AMERICAN WEB LOAN, INC., et al.,

                 Defendants.




        DECLARATION OF STEPHEN RYAN, JR. IN FURTHER SUPPORT OF
    PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM OF LAW IN OPPOSITION TO
                     DEFENDANTS’ MOTIONS TO DISMISS
                FOR LACK OF SUBJECT MATTER JURISDICTION
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  I, Stephen Ryan, Jr., declare as follows:

     1.    I am an attorney at the law firm of Berman Tabacco, One Liberty Square, Boston, MA

           02109. I am admitted pro hac vice in this action (ECF No. 208) and serve as co-counsel

           for Plaintiffs and the putative class.

     2.    I submit this Declaration for the purpose of identifying documents filed in support of

           Plaintiffs’ Supplemental Memorandum of Law in opposition to (1) AWL, Inc., American

           Web Loan Inc., and MacFarlane Group, Inc.’s Motion to Dismiss Pursuant to Rule

           12(b)(1) for Lack of Subject Matter Jurisdiction (ECF No. 72, 73); (2) Defendant SOL

           Partners’ Motion and Memorandum in Support of Motion to Dismiss Plaintiffs’

           Complaint for Lack of Subject Matter Jurisdiction (ECF No. 86); and (3) Defendant Mark

           Curry’s Motion and Memorandum in Support of Motion to Dismiss Plaintiffs’ Complaint

           for Lack of Subject Matter Jurisdiction or, Alternatively, Failure to State a Claim (ECF

           No. 85).

     3.    Attached as Exhibit 1 is a true and correct copy of a document produced in this case

           entitled



     4.    Attached as Exhibit 2 is a true and correct copy of a document produced in this case

           entitled



     5.    Attached as Exhibit 3 is a true and correct copy of a document produced in this case

           entitled




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     6.   Attached as Exhibit 4 is a true and correct copy of a document produced in this case

          entitled



     7.   Attached as Exhibit 5 is a true and correct copy of a document produced in this case

          entitled



     8.   Attached as Exhibit 6 is a true and correct copy of a document produced in this case

          entitled



     9.   Attached as Exhibit 7 is a true and correct copy of a document produced in this case

          entitled



     10. Attached as Exhibit 8 is a true and correct copy of a document produced in this case

          entitled



     11. Attached as Exhibit 9 is a true and correct copy of a document produced in this case

          entitled



     12. Attached as Exhibit 10 is a true and correct copy of a document




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 4 of 18 PageID# 6360




     13. Attached as Exhibit 11 is a true and correct copy of a document produced in this case

          entitled



     14. Attached as Exhibit 12 is a true and correct copy of




     15. Attached as Exhibit 13 is a true and correct copy of a document produced in this case

          entitled



     16. Attached as Exhibit 14 is a true and correct copy of a document produced in this case

          entitled



     17. Attached as Exhibit 15 is a true and correct copy of the Spring 2011 Volume 3, Number

          I Otoe-Missouria Tribal Newsletter, obtained from the Otoe-Missouria’s website, at

          http://www.omtribe.org/useruploads/files/otoe_spring_2011-for_web.pdf.

     18. Attached as Exhibit 16 is a true and correct copy of a print out from the Trademark

          Electronic Search System, available at http://tmsearch.uspto.gov/ and accessed on

          November 7, 2018.

     19. Attached as Exhibit 17 is a true and correct copy of a document produced in this case

          entitled




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 5 of 18 PageID# 6361




     20. Attached as Exhibit 18 is a true and correct copy of a document entitled American Web

          Loan, Inc. Trademark Assignment Cover Sheet and Assignment for Trademarks between

          American Web Loan Holdings, LLC and American Web Loan, Inc., dated April 26,

          2016.

     21. Attached as Exhibit 19 is a true and correct copy of a document produced in this case

          entitled



     22. Attached as Exhibit 20 is a true and correct copy of a document produced in this case

          entitled



     23. Attached as Exhibit 21 is a true and correct copy of an email produced in this case



     24. Attached as Exhibit 22 is a true and correct copy of an email produced in this case




     25. Attached as Exhibit 23 is a true and correct copy of



     26. Attached as Exhibit 24 is a true and correct copy of a document produced in this case

          entitled




     27. Attached as Exhibit 25 is a true and correct copy of an email produced in this case




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 6 of 18 PageID# 6362




     28. Attached as Exhibit 26 is a true and correct copy of a document produced in this case

          entitled



     29. Attached as Exhibit 27 is a true and correct copy of a document produced in this case

          entitled

                                                                                .

     30. Attached as Exhibit 28 is a true and correct copy of an email produced in this case from



     31. Attached as Exhibit 29 is a true and correct copy of a document produced in this case

          entitled




     32. Attached as Exhibit 30 is a true and correct copy of a document produced in this case

          entitled



     33. Attached as Exhibit 31 is a true and correct copy of an email produced in this case from



     34. Attached as Exhibit 32 is a true and correct copy of a document produced in this case

          entitled

     35. Attached as Exhibit 33 is a true and correct copy of an email produced in this case from



     36. Attached as Exhibit 34 is a true and correct copy of a presentation produced in this case

          entitled



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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 7 of 18 PageID# 6363




     37. Attached as Exhibit 35 is a true and correct copy of a document produced in this case

          entitled



     38. Attached as Exhibit 36 is a true and correct copy of an email produced in this case from



     39. Attached as Exhibit 37 is a true and correct copy of an email produced in this case from



     40. Attached as Exhibit 38 is a true and correct copy of an email produced in this case from



     41. Attached as Exhibit 39 is a true and correct copy of an email produced in this case from



     42. Attached as Exhibit 40 is a true and correct copy of an email produced in this case from



     43. Attached as Exhibit 41 is a true and correct copy of an email produced in this case from



     44. Attached as Exhibit 42 is a true and correct copy of a document produced in this case




     45. Attached as Exhibit 43 is a true and correct copy of an email produced in this case from



     46. Attached as Exhibit 44 is a true and correct copy of an email produced in this case from




                                                 6
Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 8 of 18 PageID# 6364




     47. Attached as Exhibit 45 is a true and correct copy of an email produced in this case from



     48. Attached as Exhibit 46 is a true and correct copy of an email produced in this case from




     49. Attached as Exhibit 47 is a true and correct copy of an email produced in this case from



     50. Attached as Exhibit 48 is a true and correct copy of an email produced in this case from



     51. Attached as Exhibit 49 is a true and correct copy of an email produced in this case from



     52. Attached as Exhibit 50 is a true and correct copy of a document produced in this case

          entitled

     53. Attached as Exhibit 51 is a true and correct copy of an email produced in this case from



     54. Attached as Exhibit 52 is a true and correct copy of an email produced in this case from



     55. Attached as Exhibit 53 is a true and correct copy of an email produced in this case from



     56. Attached as Exhibit 54 is a true and correct copy of an email produced in this case from



     57. Attached as Exhibit 55 is a true and correct copy of a document produced in this case

          entitled



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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 9 of 18 PageID# 6365




     58. Attached as Exhibit 56 is a true and correct copy of an email produced in this case from




     59. Attached as Exhibit 57 is a true and correct copy of a document produced in this case

          entitled



     60. Attached as Exhibit 58 is a true and correct copy of a letter produced in this case from



     61. Attached as Exhibit 59 is a true and correct copy of an email produced in this case from



     62. Attached as Exhibit 60 is a true and correct copy of an email produced in this case from



     63. Attached as Exhibit 61 is a true and correct copy of a document produced in this case that




     64. Attached as Exhibit 62 is a true and correct copy of a document produced in this case

          entitled



     65. Attached as Exhibit 63 is a true and correct copy of




     66. Attached as Exhibit 64 is a true and correct copy of an email produced in this case from




                                                 8
Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 10 of 18 PageID# 6366




     67. Attached as Exhibit 65 is a true and correct copy of a document produced in this case

          entitled



     68. Attached as Exhibit 66 is a true and correct copy of a Memorandum in Support of Motion

          to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(1) by Defendants AWL,

          Inc.; American Web Loan, Inc. and Red Stone, Inc. filed in Hengle v. Curry et al., 3:18-

          cv-00100-REP (E.D.Va April 18, 2018) (E-AWL-RS-20019589-9849).

     69. Attached as Exhibit 67 is a true and correct copy of a document produced in this case

          entitled



     70. Attached as Exhibit 68 is a true and correct copy of




     71. Attached as Exhibit 69 is a true and correct copy of an email produced in this case from



     72. Attached as Exhibit 70 is a true and correct copy of a document produced in this case

          entitled



     73. Attached as Exhibit 71 is a true and correct copy of a document produced in this case

          entitled

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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 11 of 18 PageID# 6367




     74. Attached as Exhibit 72 is a true and correct copy of a document produced in this case

          entitled



     75. Attached as Exhibit 73 is a true and correct copy of a document produced in this case

          entitled



     76. Attached as Exhibit 74 is a true and correct copy of a document produced in this case

          entitled



     77. Attached as Exhibit 75 is a true and correct copy of a document produced in this case

          entitled



     78. Attached as Exhibit 76 is a true and correct copy of a document produced in this case

          entitled



     79. Attached as Exhibit 77 is a true and correct copy of a document produced in this case

          entitled




     80. Attached as Exhibit 78 is a true and correct copy of a document produced in this case

          entitled




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 12 of 18 PageID# 6368




     81. Attached as Exhibit 79 is a true and correct copy of a document produced in this case

          entitled



     82. Attached as Exhibit 80 is a true and correct copy of a document produced in this case

          entitled



     83. Attached as Exhibit 81 is a true and correct copy of a document produced in this case

          entitled




     84. Attached as Exhibit 82 is a true and correct copy of a document produced in this case

          entitled



     85. Attached as Exhibit 83 is a true and correct copy of a document produced in this case

          entitled



     86. Attached as Exhibit 84 is a true and correct copy of a document produced in this case

          entitled



     87. Attached as Exhibit 85 is a true and correct copy of an email produced in this case from



     88. Attached as Exhibit 86 is a true and correct copy of a document produced in this case

          entitled



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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 13 of 18 PageID# 6369




     89. Attached as Exhibit 87 is a true and correct copy of an email produced in this case from



     90. Attached as Exhibit 88 is a true and correct copy of a document produced in this case

          entitled



     91. Attached as Exhibit 89 is a true and correct copy of a document produced in this case

          entitled



     92. Attached as Exhibit 90 is a true and correct copy of a document produced in this case

          entitled



     93. Attached as Exhibit 91 is a true and correct copy of a document produced in this case

          entitled



     94. Attached as Exhibit 92 is a true and correct copy of a document produced in this case

          entitled



     95. Attached as Exhibit 93 is a true and correct copy of an email produced in this case from



     96. Attached as Exhibit 94 is a true and correct copy of an email produced in this case from



     97. Attached as Exhibit 95 is a true and correct copy of an email produced in this case from




                                               12
Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 14 of 18 PageID# 6370




     98.    Attached as Exhibit 96 is a true and correct copy of an email produced in this case from



     99.    Attached as Exhibit 97 is a true and correct copy of a Otoe-Missouria Development

            Authority, Inc. certificate of incorporation dated August 7, 1986.

     100.   Attached as Exhibit 98 is a true and correct copy of a document produced in this case

            entitled



     101.   Attached as Exhibit 99 is a true and correct copy of a document produced in this case

            entitled

     102.   Attached as Exhibit 100 is a true and correct copy of a document produced in this case

            entitled



     103.   Attached as Exhibit 101 is a true and correct copy of a document produced in this case

            entitled



     104.   Attached as Exhibit 102 is a true and correct copy of an email produced in this case

            from

     105.   Attached as Exhibit 103 is a true and correct copy of an email produced in this case

            from



     106.   Attached as Exhibit 104 is a true and correct copy of an email produced in this case

            from




                                                13
Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 15 of 18 PageID# 6371




     107.   Attached as Exhibit 105 is a true and correct copy of a document entitled



     108.   Attached as Exhibit 106 is a true and correct copy of a document produced in this case

            entitled



     109.   Attached as Exhibit 107 is a true and correct copy of a document produced in this case

            entitled



     110.   Attached as Exhibit 108 is a true and correct copy of an email produced in this case

            from



     111.   Attached as Exhibit 109 is a true and correct copy of an email produced in this case

            from

     112.   Attached as Exhibit 110 is a true and correct copy of




     113.   Attached as Exhibit 111 is a true and correct copy of




     114.   Attached as Exhibit 112 is a true and correct copy of an email produced in this case

            from




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 16 of 18 PageID# 6372




     115.   Attached as Exhibit 113 is a true and correct copy of



     116.   Attached as Exhibit 114 is a true and correct copy of an email produced in this case

            from



     117.   Attached as Exhibit 115 is a true and correct copy of an email produced in this case

            from

     118.   Attached as Exhibit 116 is a true and correct copy of a letter produced in this case from



     119.   Attached as Exhibit 117 is a true and correct copy of a document produced in this case

            entitled

     120.   Attached as Exhibit 118 is a true and correct copy of a document produced in this case

            entitled



     121.   Attached as Exhibit 119 is a true and correct copy of an email produced in this case

            from

     122.   Attached as Exhibit 120 is a true and correct copy of an email produced in this case

            from



     123.   Attached as Exhibit 121 is a true and correct copy of a document produced in this case

            entitled




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 17 of 18 PageID# 6373




     124.   Attached as Exhibit 122 is a true and correct copy of a document produced in this case

            entitled



     125.   Attached as Exhibit 123 is a true and correct copy of a document produced in this case

            entitled

     126.   Attached as Exhibit 124 is a true and correct copy of



     127.   Attached as Exhibit 125 is a true and correct copy of a document produced in this case




     128.   Attached as Exhibit 126 is a true and correct copy of a document produced in this case




     129.   Attached as Exhibit 127 is a true and correct copy of a document produced in this case



     130.   Attached as Exhibit 128 is a true and correct copy of a document produced in this case

            entitled




     131.   Attached as Exhibit 129 is a true and correct copy of a document produced in this case

            entitled




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Case 4:17-cv-00145-HCM-RJK Document 274 Filed 11/20/18 Page 18 of 18 PageID# 6374




     132.   Attached as Exhibit 130 is a true and correct copy of an email produced in this case

            from

     133.   Attached as Exhibit 131 is a true and correct copy of an email produced in this case

            from



     134.   Attached as Exhibit 132 is a true and correct copy of a letter with attachment produced

            in this case from



     135.   Attached as Exhibit 133 is a true and correct copy of a document produced in this case

            entitled



     136.   Attached as Exhibit 134 is a true and accurate copy of a document produced in this case

            entitled



     137.   Attached as Exhibit 135 is a true and accurate copy of an email produced in this case

            from

     138.   Attached as Exhibit 136 is a true and accurate copy of an email produced in this case

            from



     139.   Attached as Exhibit 137 is a true and accurate copy of a document produced in this case

            entitled


  Executed this 20th day of November 2018.
        Boston, Massachusetts
                                                             __________________________
                                                             Stephen Ryan, Jr.

                                                17
